91 F.3d 165
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Kenneth ANDERSON, Petitioner,v.DEPARTMENT OF the ARMY, Respondent.
    No. 96-3198.
    United States Court of Appeals, Federal Circuit.
    April 10, 1996.
    ORDER
    
      1
      A petition for review of an initial decision of the Merit Systems Protection Board having been docketed in this court, and it appearing that the petitioner has also sought review before the Equal Employment Opportunity Commission, and it appearing that the initial decision of the board will not become a final decision, it is
    
    
      2
      ORDERED that the petition for review be, and it hereby is, DISMISSED, without prejudice to the subsequent filing of a petition for review after the board has again acted in the case.
    
    